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1                     IN THE UNITED STATES DISTRICT COURT.

2                     FOR THE SOUTHERN DISTRICT OF NEW YORK

3

4       NIKE, INC.,

5                              Plaintiff,

6                     vs.                         Case No. 22-CV-983 (VEC)

7       STOCKX, LLC,

8                              Defendant.

9       _________________________________________

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12

13                    The Videotaped Deposition of JACOB FENTON,

14                    Taken at 28 West Adams Avenue, Suite 1500,

15                    Detroit, Michigan,

16                    Commencing at 8:48         a.m.,

17                    Friday, December 2, 2022,

18                    Before Stenographic Shorthand Reporter,

19                    Lori Ann Baldwin, CSR-5207, RPR, CRR.

20

21

22

23

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                                                                        Page 2

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2
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25      APPEARANCES (Continued)...

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                                                                        Page 10

1       Q.    How did you prepare for today's deposition?

2       A.    I met with our counsel twice.

3       Q.    And when were those meetings?

4       A.    We met on Tuesday of this week, and we met yesterday.

5       Q.    For approximately how long?

6       A.    I think on Tuesday we met for about 45 minutes or an

7             hour, and yesterday we met for about six or seven

8             hours.

9       Q.    What is your title at StockX?

10      A.    My pres -- my title is Vice President of Customer

11            Experience and Insights.

12      Q.    How long have you held the title of Vice President of

13            Customer Experience and Insights?

14      A.    About nearly three years.

15      Q.    Okay.    So, in terms of calendar years, can you tell me

16            what year?

17      A.    Yeah.    I took that title, I believe, in January of

18            2020.

19      Q.    And prior to January of 2020, did you work at StockX?

20      A.    I did.

21      Q.    And what was your title?

22      A.    Vice President of Business Operations.

23      Q.    And how long were you the Vice President of Business

24            Operations for StockX?

25      A.    About 15 months.

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1       A.    I do.

2       Q.    How is that 99.95 percent rate calculated?

3       A.    To the best of my knowledge, I believe it's calculated

4             as a percentage of customers that reach out to StockX

5             claiming that they have received something that is not

6             in line with their -- with what they expected to get,

7             and that we were essentially wrong, and we fixed it

8             for them.

9       Q.    When you say that you "fixed it for them," what does

10            that mean?

11      A.    If a customer is able to demonstrate that they've

12            received something that is not what they expected and

13            that they haven't worn it, you know, it has our tag on

14            it, we make it right for them.

15      Q.    How do you make it right?

16      A.    Either through a refund or by helping them procure

17            another pair.

18      Q.    Does that include a customer complaining about

19            purchasing a counterfeit or fake product?

20      A.    It does, yes.

21      Q.    How would a customer know if they purchased a

22            counterfeit or fake product?

23                         MS. BANNIGAN:        Objection to form.

24      A.    Depends on the customer.          A lot of our customers are

25            very savvy and, you know, they might know a towel (ph)

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1             sneakers?

2       A.    I don't know definitively, but I -- it's a safe

3             assumption to say yes.

4       Q.    Okay.   How many fake or counterfeit products did not

5             get caught by StockX authenticators?

6                          MS. BANNIGAN:        Objection to form.

7       A.    I actually don't know the answer to that.                I know that

8             the sum of all of the ones that did not get caught was

9             that .04, right, the difference between a hundred

10            percent and the .996.

11      BY MS. DUVDEVANI:

12      Q.    How do you know that?

13      A.    We have a 99.6 accuracy rate, only .04 percent of the

14            products we pass are later determined to have been

15            missed -- passed an error, last 12 months.

16      Q.    Fair to say that's only based on products that make it

17            back to StockX after a customer complains, correct?

18      A.    That's correct.




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1       A.    I'm assuming the Sail Off-White sneaker.

2       Q.    Do you know what brand that shoe is?

3       A.    The Nike.

4       Q.    And what about the Mocha?

5       A.    Same.

6       Q.    Nike?

7       A.    Yes.

8       Q.    Okay.     Going back to the first page of Exhibit 23, you

9             write a note that starts with the word "sure."                 Do you

10            see that?

11      A.    I do.




18                          MS. BANNIGAN:       Objection.      I think you

19            missed some words in that.

20                          MS. DUVDEVANI:       The document speaks for

21            itself.

22      BY MS. DUVDEVANI:

23      Q.    So don't have to take my word for it, Mr. Fenton, you

24            can read it yourself.



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7      Q.    What do you mean by "proprietary?"

8      A.    It's our own work product.




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